                  Case 3:19-cv-03422-SI Document 58 Filed 10/25/19 Page 1 of 5



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     [Additional Counsel on signature page]
8
                                      UNITED STATES DISTRICT COURT
9                                   NORTHERN DISTRICT OF CALIFORNIA
10

11    CASEY ROBERTS, Individually and On Behalf
      of All Others Similarly Situated,
12                                                 Case No.: 3:19-CV-03422-SI
             Plaintiff,
13
             v.                                    ADMINISTRATIVE MOTION TO
14
                                                   CONSIDER WHETHER CASES SHOULD
15    ZUORA, INC., TIEN TZUO, and TYLER            BE RELATED
      SLOAT,
16
                      Defendants,
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18                                                 Date Filed: June 14, 2019
                                                   Judge: Susan Illston
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     [Caption continued on next page]
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         ADMINISTRATIVE MOTION TO CONSIDER WHETHER STOCKHOLDER DERIVATIVE
                             ACTIONS SHOULD BE RELATED
                Case 3:19-cv-03422-SI Document 58 Filed 10/25/19 Page 2 of 5



1    ANDREW LICHTER, derivatively on behalf of
     ZUORA INC.,
2
                                                 Case No.: 3:19-CV-05701-WHA
           Plaintiff,
3

4          v.

5    TIEN TZUO, TYLER SLOAT, PETER
     FENTON, KENNETH A. GOLDMAN,
6    TIMOTHY HALEY, JASON PRESSMAN,              Date Filed: September 10, 2019
7    MICHAELANGELO VOLPI, and                    Judge: William Alsup
     MAGDALENA YESIL,
8
           Defendants,
9
           and
10

11   ZUORA, INC.,

12         Nominal Defendant.

13

14   KEITH BEAVEN, derivatively on behalf of
     ZUORA, INC.,
15
                                                 Case No.: 3:19-CV-05702-JCS
           Plaintiff,
16

17         v.

18   TIEN TZUO, TYLER SLOAT, PETER
     FENTON, KENNETH A. GOLDMAN,                 Date Filed: September 10, 2019
19   TIMOTHY HALEY, JASON PRESSMAN,              Magistrate Judge: Joseph C. Spero
     MICHAELANGELO VOLPI, and
20
     MAGDALENA YESIL,
21
           Defendants,
22
           and
23
     ZUORA, INC.,
24

25         Nominal Defendant.

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       ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                Case 3:19-cv-03422-SI Document 58 Filed 10/25/19 Page 3 of 5



1            Pursuant to Civ. Loc. R. 3-12, Plaintiffs Andrew Lichter and Keith Beaven request this Court
2    deem the matters of Lichter v. Tzuo, et al., Case No. 3:19-CV-05701-WHA (N.D. Cal.) and Beaven v.

3    Tzuo, et al., Case No. 3:19-CV-05702-JCS (N.D. Cal.) (“Derivative Actions”) related to Roberts v.
     Zuora, Inc. et al., Case No. 3:19-CV-03422-SI (N.D. Cal.) (“Class Action”). As discussed below, the
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     criteria for relation are met here. These actions concern substantially the same parties, substantially
5
     identical facts and underlying agreements, and “it appears likely that there will be an unduly
6    burdensome duplication of labor and expense” if these cases are tried separately. Therefore, relation is
7    proper under Civ. Loc. R. 3-12.
8            The following actions were filed in the following order:

9    Abbreviated Case Name                                         Case Number                    Date Filed
     Roberts v. Zuora, Inc. et al.                          3:19-CV-03422-SI                      06/14/2019
10
     Lichter v. Tzuo, et al.                                3:19-CV-05701-WHA                     09/10/2019
11
     Beaven v. Tzuo, et al.                                 3:19-CV-05702-JCS                     09/10/2019
12
                                               LEGAL STANDARD
13
             Pursuant to Civ. Loc. R. 3-12(a), actions are defined as related when: (1) they “concern
14
     substantially the same parties, property, transaction or event;” and (2) “[i]t appears likely that there will
15
     be an unduly burdensome duplication of labor and expense or conflicting results if the cases are
16   conducted before different Judges.” Civ. Loc. R. 3-12(a).
17                                                  ARGUMENT

18           Both criteria are met here. The Class Action and the Derivative Actions address some of the
     same transactions and similar and overlapping sets of facts and involve some of the same parties.
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     Specifically, the Class Action and the Derivative Actions arise, at least in part, from similar false and
20
     misleading statements made by executives of Zuora, Inc. ("Zuora"). In particular, the Class Action and
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     Derivative Actions allege materially misleading statement and filings by executives of Zuora regarding
22   the subscription-based RevPro’s integration and its limited demand.
23           Given the similarities between these cases and the fact that these cases are pending in this
24   District, treating the cases as related would serve the interests of judicial economy and avoid the

25   potential for conflicting rulings on common issues. Because the requirements of Loc. R. 3-12 are met,
     relation is appropriate. In re Leapfrog Enterprises Inc. Sec. Litig., No. C 03 05421 RMW, 2005 WL
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     5327775, at *1 (N.D. Cal. July 5, 2005) (relating cases where the cases concerned the same defendants,
27
     similar factual allegations, and similar causes of action).
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         ADMINISTRATIVE MOTION TO CONSIDER WHETHER STOCKHOLDER DERIVATIVE
                             ACTIONS SHOULD BE RELATED
               Case 3:19-cv-03422-SI Document 58 Filed 10/25/19 Page 4 of 5



1                                               CONCLUSION
2           For the above stated reasons, Lichter and Beaven respectfully request that pursuant to Civ. Loc.
     R. 3-12, the Court relate Lichter v. Tzuo, et al., Case No. 3:19-CV-05701-WHA (N.D. Cal.) and Beaven
3
     v. Tzuo, et al., Case No. 3:19-CV-05702-JCS (N.D. Cal.) to Roberts v. Zuora, Inc. et al., Case No. 3:19-
4
     CV-03422-SI (N.D. Cal.).
5

6
     Dated: October 25, 2019                          Respectfully submitted,
7
                                                      THE ROSEN LAW FIRM, P.A.
8
                                                      /s/Laurence M. Rosen
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        ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                Case 3:19-cv-03422-SI Document 58 Filed 10/25/19 Page 5 of 5



1
                                         CERTIFICATE OF SERVICE
2

3           I hereby certify that on October 25, 2019, I electronically filed the foregoing with the Clerk of
     the Court using the CM/ECF system which will send notification of such filing to the e-mail addresses
4
     on the Electronic Mail Notice for this action.
5

6
                                                          THE ROSEN LAW FIRM, P.A.
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         ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
